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THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF LOUISIANA

IN THE MATTER OF
THE SEARCH OF:
THE PREMISES KNOWN AS
The Mobile Offshore Drilling
Unit Deepwater Horizon and
its surrounding debris field,
located at the area known as
Mississippi Canyon 252,
in the Gulf of Mexico

10-MAG-09/23-1

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AMENDED ORDER

Considering the Government’s Ex Parte Motion for a Protective Order to
Establish a Security Zone at the Deepwater Horizon Wreckage Site:

The Court therefore finds that it is necessary and in the interest of the public to
protect the search area and any evidence located therein against intentional or unintentional loss
or destruction;

IT IS HEREBY ORDERED that a security zone is hereby established extending
seven hundred fifty feet (750') in all directions from the wreckage site of the Deepwater Horizon

and its associated debris field, the precise center point of the Deepwater Horizon wreckage is

N28-5491/W088-22.0293, including the sea surface above the same, until further order of this

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Court not to exceed twelve (12) months from the date of this order unless renewed upon good
cause;

IT IS FURTHER ORDERED that the United States shall maintain and enforce
the security zone using vessels, aircraft, or other appropriate means and equipment,

IT IS FURTHER ORDERED that the United States shall issue a notice to the
general public and shall advise known parties in interest capable of intruding into the security

zone by providing said parties with a copy of this Order

New Orleans, Louisiana, this K day ¢ of October, 2010.
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(ATTED STA LOUIS MOORE, JR. (|
ITED STATES MAGISTRATE JUDGE

